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                                                                      FILED
                                                                U.S . DIST . COURT
                                                                 SAVANNAH DIV .
                IN THE UNITED STATES DISTRICT COURT

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                                                                                _ 20 "
               FOR THE SOUTHERN DISTRICT OF GEORGI A

                             SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,

               Plaintiff ,

            v.       )        CR407-124

CHRISTOPHER MAUNEY an d
JOSEPH D . RAWLINS,

               Defendants .




                                 O R D E R



     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement . Therefore, all pretrial motions are hereby moot, and a

hearing in this case is deemed unnecessary .

          SO ORDERED, this ~._ ..      day of June, 2007 .




                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
